                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:21-cr-   ~s '""
               v.                                    INDICTMENT

DANIEL MATTHEW KITTSON,                              18 u.s.c. § 922(0)
                                                     18 U.S.C. § 922(g)(l)
               Defendant.                            18 u.s.c. § 2

                                                     Forfeiture Allegation




                               THE GRAND JURY CHARGES:

                                           COUNTl
                      (Illegal Possession and Transfer of a Machine Gun)
                                   (18 U.S.C. §§ 922(0) and 2)

       On or about January 10, 2020, in the District of Oregon, defendant DANIEL

MATTHEW KITTSON, did knowingly possess and transfer a machinegun, that is, a weapon

which shoots, is designed to shoot, or can be readily restored to shoot, automatically more than

one shot, without manual reloading, by a single function of the trigger (26 U.S.C. § 5845(b)), to

wit: a Russian machinegun, model PPSh-41 , 7.62x25mm Tokarev caliber, bearing serial number

CA0 1716;

       In violation of Title 18, United States Code, Sections 922(0) and 2.


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                                           COUNT2
                               (Felon in Possession of a Firearm)
                                    (18 U.S.C. § 922(g)(l))

       On or about January 10, 2020, in the District of Oregon, defendant DANIEL

MATTHEW KITTSON, knowing that he had been previously convicted of a crime punishable

by imprisonment for a term exceeding one year, specifically:

       1. Manslaughter in the First Degree, on or about March 15, 1988, in Marion County

           Circuit Court, State of Oregon, Case Number 87C22133 ;

       2. Attempted Murder with a Firearm, on or about March 15, 1988, in Marion County

           Circuit Court, State of Oregon, Case Number 87C22133 ;

       3. Ex-convict in Possession of a Firearm, on or about March 7, 1988, in Marion County

           Circuit Court, State of Oregon, Case Number 87C22133;

       4. Felon in Possession of a Firearm, on or about June 25 , 1987, in Marion County

           Circuit Court, State of Oregon, Case Number 86C22308;

       5. Robbery in the First Degree, on or about June 5, 1980, in Marion County Circuit

           Court, State of Oregon, Case Number 118220;

did knowingly and unlawfully possess the following firearm: a Russian machinegun, model

PPSh-41 , 7.62x25mrn Tokarev caliber, bearing serial number CA0l 716, which firearm had

previously been shipped or transported in interstate or foreign commerce;

       In violation of Title 18, United States Code, Section 922(g)(l ):

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                               FORFEITURE ALLEGATION

       Upon conviction of the offenses in Counts 1 or 2, defendant shall forfeit to the United

States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the firearm involved in that

offense: a Russian machinegun, model PPSh-41 , 7.62x25mm Tokarev caliber, bearing serial

number CAO 1716 and all associated ammunition.

Dated: March    _!I_, 2021
                                                    A TRUE BILL.




Presented by:

SCOTT ERIK ASPHAUG


Ac~ .


LEAH K. BOLSTAD, OSB #052039
Assistant United States Attorney




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